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Weekly Assessment of CVP and SWP Delta
Operations on ESA-listed Species
     Executive Summary
    a) Operations anticipated during the week
        See Weekly Fish and Water Operation Outlook document for January 18 – January 24
    b) Winter-run Chinook Salmon summary
        Loss of natural winter-run Chinook Salmon (by length at date, LAD) has not occurred in the past
        week at the Federal fish salvage facility (WY 2022 total loss = 17.11 fish, as of 1/16/2022). Loss of
        natural winter-run Chinook Salmon at the Central Valley Project (CVP) and State Water Project
        (SWP) fish collection facilities could occur over the next week based on hydrology and recent
        observations. 60-79% of juvenile natural winter-run Chinook Salmon from brood year (BY) 21 are
        estimated to be present in the Delta. The Delta Cross Channel (DCC) gates closure for the season
        reduces exposure of winter-run Chinook Salmon juveniles that are present in the Sacramento River
        near the DCC gates into the interior Delta.
    c) Spring-run Chinook salmon summary
        Juvenile natural spring-run Chinook Salmon from BY 21 are migrating past the DCC gates. The
        exposure and effects of DCC closure are unlikely for natural spring-run Chinook Salmon. Length-
        at-date spring run were observed in the Delta within the previous seven days. Larger, older juveniles
        were observed that may be yearling spring run. 40-55% young of year spring-run Chinook Salmon
        are estimated to be in the Delta.
    d) Central Valley Steelhead summary
        Loss of natural Central Valley California (CCV) steelhead has occurred in the past week at the State
        and Federal fish salvage facilities (WY 2022 total loss = 54.36 fish, as of 1/16/2022). Loss of
        Central Valley steelhead at the Central Valley Project (CVP) and State Water Project (SWP) fish
        collection facilities could possibly occur over the next week. 25-29% of juvenile CCV Steelhead are
        estimated to be present in the Delta. Closure of the DCC gates for the season will reduce exposure
        to Central Valley steelhead juveniles that are potentially present in the Sacramento River near the
        DCC gates.
    e) Green Sturgeon summary
        Loss of green sturgeon has not occurred in the past week at the State and Federal fish salvage
        facilities. Loss of green sturgeon is unlikely to occur over the next week due to their rare presence in
        the South Delta.
    f) Delta Smelt summary
        Based on distribution patterns over the past decade and rare detections, Delta Smelt are unlikely to
        be prevalent in the South Delta, but with the salvage a 54mm, adipose clipped, Delta Smelt at the
        Tracy Fish Collection Facility on 1/16/2022, Delta Smelt are present in the South Delta. Limited
        detection data support Delta Smelt being present in the Sacramento Deep Water Ship Channel,
        Lower San Joaquin River, South Delta, and the Lower Sacramento River. Three marked individuals
        have been collected since 1/11/2022. If the daily average turbidity at Old River at Bacon Island
        (OBI) cannot be maintained less than 12 FNU, exports will be managed to achieve an OMR no
        more negative than -2,000 cfs until the daily average turbidity at OBI drops below 12 FNU. The
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        likelihood of Delta Smelt adult entrainment remains low despite the salvaged fish given current low
        turbidity in the south delta and the expected OMR index range over the next seven days.
    g) Monitoring Teams summary
       There were no non-consensus issues to report from the Salmon Monitoring Team.
       There were no non-consensus issues to report from the Smelt Monitoring Team.




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Operational and Regulatory Conditions
See current Weekly Fish and Water Operation Outlook document.


Biology, Distribution, and Evaluation Winter-run Chinook salmon, Spring-run
Chinook salmon, Central Valley Steelhead

POPULATION STATUS
Winter-run Chinook salmon
        Delta Life Stages:
               Juveniles, Adults
        Brood Year 2021 Productivity:
       o Natural winter-run Chinook salmon: A draft juvenile production estimate (JPE) calculation has
           been established for brood year (BY) 2021 winter-run Chinook salmon. The draft winter-run
           Chinook salmon JPE is 125,038 fish. Anticipate issuing a final JPE recommendation by January
           19, 2022. Among other topics, the group discussed the thiamine vitamin deficiency that is being
           observed again in broodstock at the Livingston Stone NFH similar to last year’s observation.
           Last year the thiamine vitamin deficiency appeared to negatively affect survival of juvenile fish as
           they migrate downstream towards the Delta. Mean cumulative weekly passage of winter-run
           Chinook salmon through 12/31/2021 for the last 18 years of passage data is 96.9% (one SD of
           3.2%). By 12/31/2021, 569,921 winter-run Chinook salmon were estimated to have passed
           RBDD compared to the cumulative passage last year of 3,813,580 winter-run Chinook salmon.
       o Hatchery winter-run Chinook salmon:
               ▪ No hatchery winter-run Chinook salmon have been released in WY 2022.
Spring-run Chinook salmon
        Delta Life Stages:
           Young-of-year (YOY) and Yearlings
        Brood Year 2021 Productivity:
       o Natural spring-run Chinook salmon: No JPE has been established for spring-run Chinook
           salmon. Approximately 14.7% juvenile spring-run sized Chinook salmon have been observed
           passing Red Bluff Diversion dam as of 1/17 based on historical data.
       o Hatchery spring-run Chinook salmon surrogates:
               ▪ Approximately 84,343 late-fall Chinook salmon from Coleman NFH were released at
                   Battle Creek on 12/15/2021. This group is 100% marked with adipose-fin clip and
                   CWT and have an estimated average fork length of 145mm. This is the first spring-run
                   Chinook salmon surrogates release group. There has been loss this water year of fish
                   associated with the first surrogate release group.
               ▪ Approximately 82.626 late-fall Chinook salmon from Coleman NFH were released at
                   Battle Creek on 12/22/2021. This group is 100% marked with adipose-fin clip and
                   CWT and have an estimated average fork length of 125mm. This is the second spring-
                   run Chinook salmon surrogates release group. There has been loss this water year of fish
                   associated with the second release group.
               ▪ Approximately 77,325 late-fall Chinook salmon from Coleman NFH were released at
                   Battle Creek on 1/6/2022. This group is 100% marked with adipose-fin clip and CWT
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                     and have an estimated average fork length of 145mm. This is the third spring-run
                     Chinook salmon surrogates release group. There has been loss this water year of fish
                     associated with the third release group.
        o The agencies in the SaMT discussed the thiamine vitamin deficiency that was observed in winter
            run Chinook salmon broodstock at the Livingston Stone NFH in BY 2021. Last year the
            thiamine deficiency appeared to negatively affect survival of juvenile fish as they migrate
            downstream towards the Delta. The thiamine deficiency issue is also likely impacting spring-run
            Chinook salmon. Although the egg take goals have been met at the Feather River Fish Hatchery,
            they are still experiencing fertility issues that are impacting production.
Central Valley Steelhead
         Delta Life Stages:
        o Spawning Adults, Kelts, Juveniles
         Brood Year 2021 Productivity:
        o Spawner abundance: There is limited information about the adult steelhead population. It is
            estimated to be small, contributing to the limited productivity of the population
        o Natural steelhead: No JPE has been established for steelhead. Data are limited.
        o Hatchery steelhead: Reclamation’s Proposed Action has no hatchery steelhead triggers.
                ▪ Approximately 610,911 steelhead from Coleman NFH were released at Battle Creek
                     from 12/12/2021 to 12/13/2021. This group is 100% marked only (with an adipose-fin
                     clip) and has an estimated average fork length of 195mm.

          DISTRIBUTION
         Winter-run Chinook Salmon
         Current Distribution:
        o On 1/18/2022, SaMT estimated 60-79% of juvenile winter-run Chinook salmon were present in
           the Delta and 1-5% were estimated to have exited the Delta (Table 1). The SaMT estimate is
           largely based on historical trends since few winter-run Chinook salmon have been seen in recent
           monitoring. The SaMT expressed some concern that these numbers seem low especially given
           the recent precipitation events.
        o Combined total natural winter-run Chinook salmon loss equals 17.11 fish (as of 1/16/2022).
        o Fish have been steadily arriving since the beginning of October 2021.
        o Winter-run Chinook Salmon have been observed in RST monitoring locations over the past
           week (Knights Landing, Tisdale) and the fish appear to no longer be holding in the middle
           reaches of the Sacramento River and are migrating downstream (Table 2).
        o Movement of winter-run Chinook Salmon juveniles into the lower reaches of the Sacramento
           River and upper Delta is continuing. Mill and Deer creeks daily flows were recorded higher than
           95 cfs during the past week.
         Historic Trends
        O Based on historical trends in salvage, 18.5% of winter-run Chinook salmon should have been
           observed in salvage by this time of the water year (Table 3). Loss of natural winter-run Chinook
           salmon at the CVP and SWP fish collection facilities could occur over the next week based on
           hydrology and recent observations. If historic trends in salvage were to continue, winter-run
           Chinook salmon loss is expected to remain the same over the next week.

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         o  Based on historic loss patterns and historic cumulative loss, it is possible that in WY 2022 50%
            of the wild winter-run Chinook salmon Delta Performance single-year loss threshold (729.8 wild
            winter-run Chinook salmon, as set by the draft JPE estimate) could be exceeded (Figure 1,
            Operations Outlook Table 2a).However, members of the SaMT agree the likelihood of
            exceeding the next annual loss threshold and loss occurring in the next week is unlikely to lead to
            exceedance of the threshold.
          Forecasted Distribution within Central Valley and Delta regions
         O Movement of winter-run Chinook salmon juveniles into the lower reaches of the Sacramento
            River and upper Delta are likely to occur with precipitation events and increasing river flows and
            turbidity. The agencies in the SaMT don’t believe precipitation events will occur over the next
            week (see Ops Outlook). The STARS model projects route-specific proportion of entrainment,
            survival, and travel times (Table 4). This model does not estimate entrainment into the lower
            Sacramento River sloughs (i.e., Three-Mile Slough). The DCC gates were closed 11/30/21 and
            are expected to remain closed through mid-May 2022. If little precipitation is forecasted there
            may be a need to open the DCC gates to meet D-1641 water quality standards
         o The entrainment tool estimates a median loss of 3 fish and a maximum loss of 21 fish during this
            week (SacPAS last updated on 1/18/2022, Table 6, Figure 2).
         o For results of entrainment into Delta strata regions from DSM2 model runs (North Delta into
            Interior and Central Delta, San Joaquin River and Central Delta into South Delta, and South
            Delta into fish facilities) refer to Attachment A.

          Spring-run Chinook salmon
          Current Distribution
         o On 1/18/2022, SaMT estimated 40-55% of young of year CV spring-run Chinook salmon were
            present in the Delta (Table 1).
         o Spring-run chinook are being observed at upstream monitoring sites including Tisdale, Knights
            Landing, on the Feather River and Butte Creek. (DJFMP data was not available).
          Historical Trends
         O Based on historical trends in salvage, 0% of YOY spring-run Chinook salmon were observed in
            salvage by this time of the water year (Table 3). If historic trends in salvage were to continue
            YOY spring-run Chinook salmon loss is unlikely to increase over the next week.
          Forecasted Distribution within Central Valley and Delta regions
         o On 1/18/2022 SaMT noted that some juvenile CV YOY spring-run Chinook Salmon have yet to
            emerge. Furthermore, larger, older juveniles were observed that may be yearling spring run.
            Yearling CV spring run Chinook Salmon are likely beginning to move out from natal tributaries.
            Mill and Deer creek flows continue to exceed 95 cfs indicating that yearling spring-run Chinook
            Salmon may begin to move and migrate into the mainstem Sacramento River (Table 5).
         o For results of entrainment into Delta strata regions from DSM2 model runs (North Delta into
            Interior and Central Delta, San Joaquin River and Central Delta into South Delta, and South
            Delta into fish facilities) refer to Attachment A.




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          Central Valley Steelhead
         Current Distribution
        o On 1/18/2022 SaMT estimated 25-29% of juvenile CCV steelhead were present in the
           Delta (Table 1).
        o Combined total loss of hatchery steelhead equals 63.45 fish as of 1/16/2022.
        o Combined total loss of natural steelhead between December 1 and March 31 equals 54.36 fish as
           of 1/16/2022.
         Historical Trends
        o Based on historical trends in salvage, 7.8% (December through March) of juvenile CCV
           steelhead should have been observed in salvage by this time of the water year. If historic trends
           in salvage were to continue, juvenile CCV steelhead loss is likely to not increase over the next
           week. However, since a few fish have been observed in salvage in WY 2022 earlier than in
           previous years, it is possible loss of CCV steelhead could occur over the next week.
         Forecasted Distribution within Central Valley and Delta regions
        o Natural steelhead were not observed in key monitoring locations this past week (Tisdale and
           Knight’s landing).
        o SaMT estimated that 25-29% of the population of CCV steelhead may be present in the Delta at
           this time. Closure of the DCC gates for the season will reduce exposure and possible
           entrainment of juvenile CCV steelhead into the interior Delta via the DCC gates.
        o The entrainment tool estimates a median loss of 0 fish and a maximum loss of 24 fish during this
           week (SacPAS last updated on 1/18/2022, Table 6, Figure 2).
        o For results of entrainment into Delta strata regions from DSM2 model runs (North Delta into
           Interior and Central Delta, San Joaquin River and Central Delta into South Delta, and South
           Delta into fish facilities) refer to Attachment A.

          TABLE 1. Salmonid distribution estimates

 Location                            Yet to Enter Delta       In the Delta     Exited Delta past
                                                                               Chipps Island
 Young-of-year (YOY) winter-run      20-35%                   60-79%           1-5%
 Chinook salmon
 YOY spring-run Chinook salmon       45-60%                   40-55%           0%

 YOY hatchery winter-run             NA                       NA               NA
 Chinook salmon*

 Natural origin steelhead            70-75%                   25-29%           0-1%

          TABLE 2. Historic migration and salvage patterns.

                 Red Bluff                                           Sac Trawl            Chipps
    Date         Diversion                        Knights          (Sherwood)         Island Trawl
                               Tisdale RST                                                                Salvage
   (1/17)          Dam                          Landing RST        Catch Index        Catch Index

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                 97.4%         74.8%
 Chinook,                                    68.9%                        37.6%                   2.5%
             (95.3%,99.4%) (50.9%,98.7%)                                                                    18.5%
 Winter-run,                             (39.3%,98.6%)                (8.5%,66.6%)           (-1.3%,6.4%)
               BY: 2012 -    BY: 2012 -                                                                     (1.5%,35.5%)
 Unclipped                               BY: 2013 - 2020             BY: 2012 - 2020        BY: 2012 - 2020
                  2020          2020

                 14.7%                24.7%
  Chinook,                                              23.3%              4.5%               0.0%
             (3.2%,26.2%)        (-2.0%,51.4%)                                                                 0.0%
 Spring-run,                                       (-2.9%,49.4%)      (-3.4%,12.5%)       (0.0%,0.0%)
              BY: 2012 -           BY: 2012 -                                                                  (0.0%,0.0%)
 Unclipped                                        BY: 2013 - 2020    BY: 2012 - 2020     BY: 2012 - 2020
                  2020                 2020
  Steelhead,
                                                                                                               7.8%
 Unclipped
                                                                                                               (-
 (December
                                                                                                               3.5%,19.1%)
   - March)

         TABLE 3. STARS model output.
                                                 Georgiana    Sacramento       Sutter and
 Date (1/17/2022)                DCC
                                                 Slough       River            Steamboat
 Proportion of Entrainment       0               0.25         0.46             0.28
 Survival                        NA              0.21         0.57             0.45
 Travel Time                     NA              15.5d        9.4d             9.8d

          TABLE 4. Mean daily flow and percent change (Wilkins Slough, Deer Creek, Mill Creek; cfs
          from CDEC) and temperature and percent change (Knights Landing; °F from RST).

               Mill                                           DCV Alert     Wilkins
                                             Deer                                      Knights
               Creek                                                        Slough
                       MLM                   Creek   DCV                               Landing
 Date          flow             MLM Alert                                   flow                    Alert Triggered
                       Change                flow    Change                            temperatur
               (MLM                                                         (WLK)
                                             (DCV)                                     e (°F)
               )
                                                                                                    WLK>7500cf
 1/17/2022 204.7       -3.1%    Flow>95cfs   215.5   -4.4%    Flow>95cfs 7886.0        41.3         s and
                                                                                                    KNL<56.3F
                                                                                                    WLK>7500cf
 1/16/2022 211.3       -2.0%    Flow>95cfs   225.5   -3.0%    Flow>95cfs 8021.0        41.3         s and
                                                                                                    KNL<56.3F
                                                                                                    WLK>7500cf
 1/15/2022 215.7       -2.2%    Flow>95cfs   232.3   -4.0%    Flow>95cfs 8180.7        41.2         s and
                                                                                                    KNL<56.3F
                                                                                                    WLK>7500cf
 1/14/2022 220.6       -1.8%    Flow>95cfs   242.0   -5.2%    Flow>95cfs 8432.9        41           s and
                                                                                                    KNL<56.3F
                                                                                                    WLK>7500cf
 1/13/2022 224.7       -3.6%    Flow>95cfs   255.2   -7.0%    Flow>95cfs 8881.1        41           s and
                                                                                                    KNL<56.3F
                                                                                                                  7
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                                                                                        WLK>7500cf
 1/12/2022 233.0      -6.8%   Flow>95cfs    274.2   -9.6%    Flow>95cfs 9774.6   41.2   s and
                                                                                        KNL<56.3F
                                                                                        WLK>7500cf
 1/11/2022 250.1      -11.0% Flow>95cfs     303.5   -12.7%   Flow>95cfs 10802.0 41.5    s and
                                                                                        KNL<56.3F


          TABLE 5. a)WY 2022 loss and salvage predictor data: Predicted weekly loss of winter-run
          Chinook salmon and steelhead at CVP and SWP facilities. b) Environmental details, current
          and forecast.

                                   Week          15              16
 a)                                           Model
                       Steelhead median          0                0
                          Steelhead high         24              17
             Winter-run Chinook median           3                3
               Winter-run Chinook high           21              33
 b)                                            Data           Forecast
        Temperature (Mallard Island, C)         9.0              9.0
  Precipitation (5-d running sum, inches)      0.00             0.00
           Old + Middle river flows (cfs)     -4,561           -4,561
   Sacramento River flow (Freeport, cfs)      21,192           21,192
                              DCC Gates       Open             Closed
   San Joaquin River flow (Vernalis, cfs)      1,026           1,026
                                  Export       5,730           5,730




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FIGURE 1. WY 2022 cumulative natural winter-run Chinook salmon loss (blue) and 2009 – 2018 historic
cumulative loss (gray, different symbols). Historic daily mean plotted in black circles.




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FIGURE 2. Predicted weekly loss of steelhead and winter-run Chinook salmon at the CVP and SWP
facilities




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EVALUATION
   1. After January 1, are more than 5% of juveniles from one or more salmonid species present in
      the Delta?
      Greater than 5% of juvenile winter-run Chinook salmon, CCV steelhead, and young of year spring-
      run Chinook salmon are present in the Delta.
   2. Does the operational outlook’s ranges impact fish movement and change the potential
      distribution of fish?
        Potential effects within the 7 days (near-term) in the operations outlook.
           OMR flow is expected to remain at or more positive than -5,000 cfs this upcoming week.
        Potential effects longer than the 7 days (longer-term) in the operations outlook.
            See response above to (2) (i).
   3. What is the likelihood of increased loss exceeding the next annual loss threshold (50%, 75%
      or 90% of threshold) resulting in OMR management actions based on population
      distribution, abundance, and behavior of fish in the Delta?
        Winter-run Chinook salmon
      Total juvenile natural winter-run Chinook salmon (LAD) loss is 17.11 fish (as of 1/16/2022). Loss
      of juvenile winter-run Chinook salmon has not occurred in the past week at the CVP and SWP
      fish salvage facilities. JPE calculations have not been established for brood year (BY) 2021 winter-
      run Chinook salmon. The agencies in the SaMT assessed the likelihood of exceeding the next
      annual loss threshold and believe that loss occurring in the next week is unlikely to lead to
      exceedance of the 50% single-year loss threshold.
        Spring-run Chinook salmon
      Total juvenile spring-run Chinook salmon (LAD) loss is 0 fish (as of 1/16/2022). No loss of juvenile
      spring-run Chinook salmon has occurred in the past week at the CVP and SWP fish salvage facilities.
      The agencies in the SaMT assessed the likelihood of exceeding the next annual loss threshold and
      believes that loss occurring in the next week is unlikely to lead to exceedance of the 50% single-year
      loss threshold.
        Central Valley Steelhead
      Total natural juvenile steelhead loss (December 1 through March 31) is 54.36 fish (as of 1/16/2022).
      Loss of natural juvenile has occurred in the past week at the CVP and SWP fish salvage facilities.
      Total clipped steelhead loss is 63.45 fish (as of 1/16/2022). The agencies in the SaMT assessed the
      likelihood of exceeding the next annual loss threshold and believe that loss occurring in the next
      week is unlikely to lead to exceedance of the 50% single-year loss threshold.
   4. If an annual loss threshold has been exceeded, do continued OMR restrictions benefit fish
      movement and survival based on real-time information?
        Winter-run Chinook salmon
        The annual loss threshold for winter-run Chinook salmon has not been exceeded in WY 2022.
        Spring-run Chinook salmon
        The annual loss threshold for spring-run Chinook salmon has not been exceeded in WY 2022.
        Central Valley Steelhead
        The annual loss threshold for steelhead (December 1 – March 31) has not been exceeded in WY
        2022.


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    5. If OMR is more negative than -5,000 cfs are there changes in spawning, rearing, foraging,
       sheltering, or migration behavior beyond those anticipated to occur under OMR
       management at -5,000 cfs?
       OMR flows are not expected to be more negative than -5,000 cfs during the next week.


Biology Distribution and Evaluation of Green Sturgeon
POPULATION STATUS
     Delta Life Stages:
     o Adults and Juveniles
      Juvenile Abundance:
     o In 2021, 1037 larval green sturgeon and 5 juvenile green sturgeon were observed at the Red Bluff
         Diversion Dam during continuous fish monitoring using RSTs in the upper Sacramento
         River. 14 juveniles were captured and implanted with micro-acoustic tags during the month of
         October and all were presumed to leave the upper Sacramento River during the unprecedented
         storm /run-off event that occurred on October 24, 2021 that resulted in flows at Bend Bridge of
         ~37,000 cfs.
DISTRIBUTION
      Current Distribution
     o Adults: Most abundant during spring spawning migration period of March through May,
         and post spawning out-migration periods May through June; October through January
         depending on first winter storm event resulting in significant Sacramento River flow
         increases. Adult presence year-round to a lesser extent mainly in San Pablo Bay. Recent
         sporadic occurrences of adult green sturgeon in the San Joaquin River system but spawning
         has not been documented. Unknown if spawning occurred historically in the San Joaquin
         River system.
     o Juveniles: Age-1 through Age-3 juveniles present year-round and widely distributed.
         Juveniles tagged with acoustic tags in the main channel Sacramento River near Sherman
         Island detected in the Sacramento River as far upstream as the Cache Slough complex, in
         the San Joaquin River at the Antioch Bridge, in Threemile, Horseshoe Bend, and
         Montezuma Sloughs. Seasonal abundance at the primary sampling site (near Sherman
         Island) appears to be highest during summer in based on capture and telemetry data.
         Residence time at the primary sampling site for individual fish ranges from one day to over
         one year but telemetry data show outmigration from the primary sampling site to the Pacific
         Ocean ranges from 27 to 552 days. Recent capture data shows diurnal depth preference in
         the main channel of the Sacramento River. No recent documentation of shallow water
         habitat presence or foraging but likely. The remains of a juvenile/young adult green
         sturgeon were collected at CVP on 1/6/22; however, this does not count towards green
         sturgeon salvage totals.

         Historical Trends
        o Juvenile and adult green sturgeon are historically present in the San Joaquin and Sacramento
           rivers and Delta


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         Forecasted Distribution within Central Valley and Delta regions
        o Juvenile and adult green sturgeon are present in the San Joaquin and Sacramento rivers and
           Delta during the next week.

EVALUATION
1. Is there likely to be salvage that may exceed the annual loss limit?
     Green sturgeon salvage is 0 fish (as of 1/16/2022). The agencies in the SaMT assessed the likelihood of
     salvage occurring in the next week is unlikely to occur.

Biology, Distribution, and Evaluation of Delta Smelt
POPULATION STATUS
     Delta Smelt Life Stages:
            Adults
     Brood Year 2021:
     Abundance estimate:
            The abundance estimate for Delta Smelt was 922 and calculated from data collected between
            1/10-13/2022. The most recent detection of Delta Smelt was on 1/18/2022 (marked,
            EDSM) caught in the Suisun Marsh stratum.
     Biological Conditions:
            Adult Delta Smelt are expected to be present in the Sacramento Deep Water Ship Channel,
            the Lower Sacramento, Suisun Bay, South Delta and Lower San Joaquin River based on the
            survey detections. Delta Smelt are expected to have migrated in response to increases in
            turbidity and flow from “first flush” conditions (Sommer et al 2011). The Smelt Monitoring
            Team discussed the most recent monitoring data (Table 4) and considered professional
            opinion on the historical trends in regional distribution.

DISTRIBUTION
      Current Distribution
        o Real time detection data is currently limited to EDSM sampling, Chipps Island, Bay Study,
            LEPS, and SLS. Since there are only a few recent detections of Delta Smelt, the Smelt
            Monitoring Team’s capacity to estimate where they are within the Delta is limited.
        o The last Delta Smelt detection was on 1/18/2022 in the Suisun Marsh stratum.
        o Larval sampling at the Skinner Fish Facility (SFF) and the Tracy Fish Collection Facility
            (TFCF) will be initiated by the SMT in February.

          TABLE 6. Summary of recently reported detections of Delta Smelt by Region and Salvage
          Facilities between 1/11/2022 and 1/18/2022. Start and End dates reflect period of time
          between updates to SMT. Regional categories are determined from EDSM sampling. Delta
          Smelt >58mm FL are considered adults. Subadult fish are considered by the SMT to be fish
          from the previous year’s cohort based on size and timing of collection. Young of year are
          considered juveniles and larvae.

                    Life Stage        North        South     West       Far West    Salvage
                                                                                                           13
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                    Adult                1          0       1         0            0
                    Subadult                                                       1
                    Larvae/Juvenile      0          0       0         0            0

          Table 7. Summary of recent Delta Smelt detections reported since last assessment and the
          total detections for the current water year. Notes reflect latest information on reported
          detections or completion of survey for the water year and include both larval and adult
          detections. Total Fish counts do not distinguish between hatchery origin and wild Delta
          Smelt. Table may include preliminary data that may not received full QA/QC, but any
          corrections will be made the following week.

Sampling Method              Frequency         New        WY2022                       Notes
                                             Detections
      EDSM                     Weekly               2           18          Phase 1 began 11/29/2021
                                                                               Western Delta stratum
                                                                          sampling cancelled. Additional
                                                                             sites will be selected from
                                                                                 Suisun Bay stratum

       SKT                   Monthly               0            0              Begins: 1/18/2022

        SLS                  Biweekly              0            0             Survey 13: Processing

      20-mm                  Biweekly              0            0              Begins: 3/21/2022

 Summer Townet               Biweekly              0            0                   Complete

    Bay Study                Monthly               0            0                   Ongoing
     FMWT                    Monthly               0            0                   Complete
  Chipps Island                Weekly              0            1                   Ongoing
      Trawl
FCCL Brood Stock               Weekly              0            0                  November
   Collections
       LEPS                    Weekly              0            0                   Ongoing

       TFCF                    Daily               1            1                   Ongoing

       Total                     ___               ___          20           Sum of all Delta Smelt
                                                                            observed during the OMR
                                                                              Management Season


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          Cultured Delta Smelt Experimental Releases
          o On 12/14/2021-12/15/2021, the Experimental Release Technical Team trucked approximately
              ~12800 brood year 2021 Delta Smelt from the FCCL to Sacramento River at Rio Vista for
              release into the Delta. This release will include 11392 Adipose fin clipped individuals and 1408
              Visible Implant Elastomer (VIE) tagged individuals.
          o On 01/11/2022-01/12/2022, the Experimental Release Technical Team will truck
              approximately ~12800 brood year 2021 Delta Smelt from the FCCL to Sacramento River at Rio
              Vista for release into the Delta. This release will include 12416 Adipose fin clipped individuals
              and 384 Visible Implant Elastomer tagged individuals.
          Table 8. Weekly summary of the origin of Delta Smelt caught. These identifications are
          considered tentative and additional genetic testing will confirm the identity of individuals.
          Individuals with no tags are provided alive to the FCCL as potential additions to the FCCL
          Broodstock.
             Date        Survey                  Stratum                     Total       Ad.      VIE     No
                                                                            Caught     Clipped            Tag
     1/12/2022       EDSM Sac Deepwater Ship Channel                       1           1       0         0
     1/16/2022       TFCF South Delta                                      1           1       0         0
     1/18/2022       EDSM Suisun Marsh                                     1           1       0         0
      Historical Trends
      o Wild Delta Smelt detections in the Sacramento Deep Water Ship Channel indicate presence
         upstream of the confluence, but the fish may be freshwater residents and not representative of
         the migratory life history patterns in Delta Smelt (Hobbs 2019).
      o Historically, the highest peak in salvage is in May and the second highest is in June (Grimaldo et
         al 2009; figure 5).
      Forecasted Distribution within Central Valley and Delta regions
      o Predicting the distribution of adult wild Delta Smelt is currently difficult because detection data
         is limited to a few individuals and historic patterns may not be representative of the low
         population levels. No detections have been in the central or south delta.
      o The SMT uses turbidity as a surrogate for Delta Smelt presence and in making assessments of
         the likelihood of entrainment for larval Delta Smelt after spawning begins.
      o The potential of experimentally released Delta Smelt to distribute from their release site is
         unknown at this time and SMT cannot predict their distribution beyond the original release site
         and subsequent recaptures.
ABIOTIC CONDITIONS
      Turbidity
      o As of 1/18/2022 turbidity continues to be less than 12 FNU at OBI, and it is stable at other
         central and south Delta stations (See attachment B).
      o Integrated Early Winter Pulse Protection ended on 1/2/2021.
      o Precipitation is not expected in the next seven days which may increase turbidity and flows.

        TABLE 9. Relevant Environmental Factors to the current management actions for Delta Smelt..
                                Date             OBI Daily Turbidity
                              Reported                  (FNU)
                                                                                                            15
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                                 1/18/2022                    5.17

          X2 Conditions
          o X2 is estimated to be at 76 km.
          o When X2 is above 81 km, the SMT uses the X2_EC_Graph.xlxs tool to estimate the position
             of X2 for both the Sacramento and San Joaquin Rivers and assumes the average of the two is
             representative of an approximate X2 position.
          Other Environmental Conditions
          o The Fish and Water Operation Outlook OMR Index values are expected to range between -
             4,500 to -5,000 cfs from 1/18/2022 to 1/25/2022.
          o Real time tracking of environmental conditions, relevant thresholds and Delta Smelt catch data
             are updated daily at:
             http://www.cbr.washington.edu/sacramento/workgroups/delta_smelt.html

EVALUATION
    1. Between December 1 and January 31, has any first flush condition been exceeded?
        The running 3-day average flows and running 3-day average turbidity at Freeport exceeded the
        triggers for Integrated Early Winter Pulse Protection on 12/17/2021 (running 3-day averages: 27,152
        cfs and 67 FNU). The CVP and SWP reduced exports from 12/20/2021 until 1/2/2022.
    2. Do DSM have a high risk of migration and dispersal into areas at high risk of future
    entrainment? (December 1- January 31)
        Based on distribution patterns over the past decade and recent detection data, Delta Smelt are
        unlikely to be prevalent in the South Delta. Delta Smelt are expected to have made their migration in
        response to first flush and be holding in anticipation for temperatures conducive to spawning. Low
        turbidity persists in the OMR corridor, adult Delta Smelt are associated with areas of higher turbidity.
        Therefore, we expect Delta Smelt to have a lower likelihood of moving into areas with a higher
        likelihood of entrainment. Notably, turbidity in Clifton Court (CLC) has increased over the previous
        seven days but remains separated from turbidity north of the OMR corridor. However, since an
        experimentally released Delta Smelt was salvaged in the South Delta under low turbidity conditions
        (<12 FNU), there is uncertainty about how experimentally released fish may behave or distribute
        after release.
    3. Has a spent female been collected?
          No data is being collected currently, but it will begin being collected by SKT on 1/18/2022.
    4. If OMR of -2000 does not reduce OBI turbidity below 12NTU/FNU, what OMR target is
    deemed protective between -2000 and -5000?
           OBI turbidity is currently below 12 FNU and a turbidity bridge avoidance action is not expected to
          be necessary in the next seven days.
    5. If OBI is 12 NTU/FNU, what do other station locations show?
    6. OBI turbidity is currently below 12 FNU. The daily average turbidities on 1/17/2022 at
    Prisoners Point (7.77 NTU), Holland Cut (5.59 FNU) and Victoria Canal (5.78 NTU) are stable
    and expected to remain stable in the next seven days.If OBI is 12 NTU/FNU, is a turbidity
    bridge avoidance action not warranted? What is the supporting information?
          The turbidity at OBI is below 12 FNU, and a turbidity bridge avoidance action is not anticipated in
          the next 7 days.
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    7. After March 15 and if QWEST is negative, are larval or juvenile DSM within the entrainment
    zone of the CVP and SWP pumps based on surveys?
        This question is not applicable until March 15th.
    8. Based on real-time spatial distribution of Delta Smelt and currently available turbidity
    information, should OMR be managed to no more negative than -3,500?
        This question is not applicable until March 15th.
    9. What do hydrodynamic models, informed by EDSM or other relevant data, suggest the
    estimated percentage of larval and juvenile DSM that could be entrained may be?
        This question is not applicable until March 15th

DELTA SMELT REFERENCES
      Lenny F. Grimaldo, Ted Sommer, Nick Van Ark, Gardner Jones, Erika Holland, Peter B. Moyle,
             Bruce Herbold & Pete Smith (2009) Factors Affecting Fish Entrainment into Massive Water
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      Hobbs, J. A., Lewis, L. S., Willmes, M., Denney, C., & Bush, E. (2019). Complex life histories
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             https://doi.org/10.1038/s41598-019-52273-8
      Polansky, L., Newman, K.B., Nobriga, M.L. et al. Spatiotemporal Models of an Estuarine Fish
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      Sommer, T., F. Mejia, M. Nobriga, and L. Grimaldo. 2011. The Spawning Migration of Delta Smelt
             in the Upper San Francisco Estuary. San Francisco Estuary and Watershed Science 9(2).




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Attachment A

Objective
Background
DSM2 model results: summary tables
DSM2 model results: figures
DSM2 model interpretation entrainment into Delta strata regions
DSM2 channel locations information


Objective
Weekly modeling efforts are conducted to examine the effects of varying OMR conditions on the behavior of
salmonids present in the Delta in a one-week “look ahead” or outlook. Members of the Salmon Monitoring
Team (SaMT) use DSM2 modeling results to help answer how changing pumping regimes translates to
differences in flows and velocities modeled at various channel locations within the Delta and what impact
modeled environmental parameters have on rearing, foraging, migrating, and holding salmonids.

Each series of runs consists of three OMR conditions: minimum and maximum scenarios bounded by
expected OMR index values for that week (Ops Outlook, Table 1) and a baseline which represents an
anticipated operational value. Assumptions are made to best estimate future hydrologic characteristics. These
inputs are more confident for the future one, two, and three-day timeframes; days four through six have
lower confidence. Model scenarios hold hydrology inputs between runs constant and adjust Delta export
pumping rates to compare between scenario OMR index values (unless otherwise noted). Although
hydrologic ensembles could be used, a single value or deterministic projection is used for efficiency.

SaMT members use weekly DSM2 model results from a range of scenarios as part of a suite of tools to help
assess distribution and changes to behavior of salmonids. At each channel location over a six-day action
period, environmental parameters are examined: modeled flow and velocity general statistics (e.g., magnitude,
range, percent positive), differences in modeled flow and velocity values compared with the baseline scenario,
etc. That information, in conjunction with channel location (e.g., close to the Delta pumping facilities, closer
to areas with higher tidal influence, etc.) and other environmental considerations (e.g., tidal cycle, upcoming
storms, etc.), is then interpreted from a biological perspective. SaMT explores the possible effects to
salmonids of changing OMR index scenarios, assuming each of those potential operations could be that
week’s controlling factor.




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Background
 Process
 Weekly process         • DSM2 model runs use a historic and forecasted hydrological input dataset with
                          no assumptions provided by DWR Thursdays and updated by Reclamation
                          Mondays.
                        • Input File updated Monday after initial distribution from DWR for removal of
                          forecasted in lieu of historic input.
                        • Reclamation provides scenarios based on expected OMR index values for the
                          upcoming week.
                        • DSM2 model runs produced Monday and distributed to SaMT members.
 Hydraulic footprint
 information
 Updated               1/17/2022 (baseline and scenarios)

 DSM2 modeling         1/18/2022 – 1/25/2022
 results range
 OMR index value
 scenarios
 Baseline              -5,000 cfs
 Scenario 1            -4,500 cfs
 Scenario 2            N/A
 Changes between
 scenarios
 Hydrology             No (see special considerations section below)
 Delta Exports         Yes
 Common assumptions
 DSM2 run results       • CCFB Gates are operating to Priority 2 throughout the forecast period.
 based on the           • The Delta Cross Channel gates were closed on November 30 and will remain
 following                closed through the end of the forecast period.
 assumptions            • Suisun Marsh salinity control gates were changed from tidal position to open
                          operation for 2 gates on December 21, and the remaining 1 gate is closed for
                          maintenance.
                        • Temporary False River drought barrier was breached on January 7.
                        • See Figure A1a for Sacramento River flow at Freeport during the forecast
                          period.
                        • See Figure A1b for San Joaquin River flow at Vernalis during the forecast
                          period.
                        • Clifton Court Forebay and Tracy Pumping Plant pumping is shown for model
                          runs in Figure A2.



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 Additional
 information
 Considerations for          • This week there was no Scenario 2 modeled.
 current DSM2                • Both runs suggest Jones Pumping plant can export: Assumes DCI is available
 model run                     for JPP exports.
 Caveats                     • Time-step: DSM2 generates results at 15-minute time-steps.
                               Visualizations of DSM2 model run results are aggregated over daily timesteps.
                               Operations function on a more granular scale than daily time-step.
                             ▪ Salmonid behavior: DSM2 provides flow fields which salmonids may
                                encounter but salmonids are not neutrally buoyant particles. Models which
                                incorporate behavior from acoustic tagged salmonids are being developed for
                                South Delta (ePTM, ecoPTM).


DSM2 model results: figures
FIGURE A1. Daily forecasted Freeport and Vernalis flows (cfs).

            1,000                                                                                16,000




                                                                                                          Freeport flow (cfs)
  Vernalis flow (cfs)




                    950                                                                          15,000




                    900                                                                          14,000
                          1/18    1/19      1/20       1/21      1/22       1/23      1/24

                                                 Vernalis         Freeport




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FIGURE A2a-b. Daily forecasted pumping: Jones and Banks (cfs) for (a) Baseline and (b) Scenario 1.
                                                 6,000
                           Total pumping (cfs)

                                                 4,000



                                                 2,000



                                                     0
                                                           1/18    1/19     1/20    1/21   1/22   1/23    1/24
                                                                          Jones    Banks
    a.

                                 6,000
           Total pumping (cfs)




                                 4,000




                                 2,000




                                                 0
                                                         1/18     1/19    1/20      1/21   1/22    1/23    1/24

                                                                          Jones    Banks
    b.




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DSM2 model results: summary tables
Table A1. Summary of minimum, maximum, mean, and percent positive flows (cfs) and velocities (ft/s) by DSM2 channel for OMR scenarios
over a 6 day time period. For scenario values refer to “Hydraulic Footprint Information” in the conditions / assumptions sect ion above.
  Scenario (cfs)       DSM2 Flow Min. Flow Max.                 Flow Mean Flow %               Velocity      Velocity Velocity        Velocity %
                      Channel                                                   Positive         Min.          Max.       Mean          Positive
   Baseline-5000               6    -279.5       1808.7          1023.6           95           -0.1          1.1          0.6           95
     OMR-4500                  6    -271.3       1809.2          1023.2           96           -0.1          1.1          0.6           96
   Baseline-5000             21     -7280.8      6832.6           174.3           53           -0.5          0.5          0.0           53
     OMR-4500                21     -7291.1      6835.7           198.2           53           -0.5          0.5          0.0           53
   Baseline-5000             49    -154840.6    141973.6         -2543.8          51           -1.9          1.9          0.0           51
     OMR-4500                49    -154820.1    142018.0         -2156.5          51           -1.9          1.9          0.0           51
   Baseline-5000             81     -8039.3       -606.9         -4662.5          0            -2.2          -0.2         -1.4           0
     OMR-4500                81     -7789.1       -611.7         -4665.7          0            -2.2          -0.2         -1.3           0
   Baseline-5000             94    -14590.3      8588.2          -3332.1          43           -2.0          1.2          -0.4          43
     OMR-4500                94    -14044.2      8598.6          -3078.5          44           -1.9          1.2          -0.4          44
   Baseline-5000             107    -5954.2      3900.5          -1130.4          45           -1.6          1.1          -0.3          45
    OMR-4500                 107    -5954.6      3905.1          -1059.5          46           -1.6          1.1          -0.3          46
   Baseline-5000             124   -19180.4      11710.4         -3937.8          41           -0.6          0.4          -0.1          41
    OMR-4500                 124   -19188.2      11716.4         -3804.5          41           -0.6          0.4          -0.1          41
   Baseline-5000             148    -8310.7      5293.6          -1663.1          44           -0.9          0.6          -0.2          44
    OMR-4500                 148    -8175.8      5303.7          -1551.8          45           -0.9          0.6          -0.2          45
   Baseline-5000             160    -5075.3      3227.3          -640.9           49           -0.5          0.4          -0.1          49
    OMR-4500                 160    -5071.7      3230.6          -589.8           49           -0.5          0.4          -0.1          49
   Baseline-5000             434   -155541.4    163556.5         8420.4           53           -1.7          1.9          0.1           53
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     OMR-4500                434   -155542.4   163534.6   8512.5   53   -1.7   1.9   0.1   53
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FIGURE A3: Spatial representation of DSM2 modeled flow by channel.
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DSM2 model interpretation entrainment in Delta strata regions

Delivery of DSM2 model run results occurred after the Tuesday morning SaMT meeting due to a Federal
holiday on 1/17/2022. DSM2 results were not discussed during SaMT thus no model interpretation is
provided this week.




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DSM2 channel locations information
FIGURE A4. Highlighted DSM2 channels by Delta Strata.




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TABLE A2. Description of channel location, by Delta Strata region. Not all listed channels have model
results presented in every weekly Proposed Action Assessment.
             DSM2 Channel                                             Description
 North Delta into Interior and Central
 Delta
 CHAN049                                  San Joaquin River at Sherman Island
 CHAN310                                  Three-Mile Slough
 CHAN421                                  Sacramento River at Delta Cross Channel
 CHAN422                                  Sacramento River at Delta Cross Channel
 CHAN423                                  Sacramento River at Delta Cross Channel
 CHAN434                                  Sacramento River at Sherman Island
 San Joaquin River and Central Delta
 into South Delta
 CHAN006                                  San Joaquin River at Head of Old River (HOR)
 CHAN021                                  San Joaquin River downstream from confluence with Calaveras River
 CHAN024                                  San Joaquin River upstream of Turner Cut
 CHAN054                                  Old River at confluence with San Joaquin River (HOR)
 CHAN107                                  Old River north of Rock Slough
 CHAN117                                  Old River south of Franks Tract
 CHAN124                                  Old River between Franks Tract and San Joaquin River
 CHAN160                                  Columbia Cut
 CHAN173                                  Turner Cut
 South Delta into Facilities
 CHAN148                                  Middle River
 CHAN227                                  Victoria Canal
 CHAN081                                  Grant Line Canal
 CHAN094                                  Old River




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Attachment B: Delta Turbidity Report




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